FILED

UNITED STATES DISTRICT COURT U.S. DISTRICT COURT

FOR THE MIDDLE DISTRICT OF TENNESSEE MIDDLE DISTRICT OF TENN.
NASHVILLE DIVISION
JUL 11 2013
UNITED STATES OF AMERICA )
) NO. 3:12-cr-00110 »_ Ley
Vv. ) Judge Trauger EPUTY CLERK
)
ADRAIN TALLEY, ) 18 U.S.C. § 922(g)(1)
a/k/a ADRIAN TALLEY, ) 18 U.S.C. § 924
a/k/a ADRAIN FOSTER ) 18 U.S.C. § 1951
) 18 U.S.C. §2

SUPERSEDING INFORMATION
COUNT ONE

THE ACTING UNITED STATES ATTORNEY CHARGES:

On or about April 21, 2012, in the Middle District of Tennessee, ADRAIN
TALLEY, a/k/a ADRIAN TALLEY, a/k/a ADRAIN FOSTER, having previously
been convicted in any court of a crime punishable by imprisonment for a term exceeding
one (1) year, did knowingly possess, in and affecting commerce, a firearm, to wit: a
Smith & Wesson, Model SW40VE, .40-caliber pistol.

In violation of Title 18, United States Code, Sections 922(g)(1) and 924.

Case 3:12-cr-00110 Document 52 Filed 07/11/13 Page 1 of 2 PagelD #: 75
COUNT TWO

THE ACTING UNITED STATES ATTORNEY FURTHER CHARGES:

On or about April 21, 2012, in the Middle District of Tennessee, ADRAIN
TALLEY, a/k/a ADRIAN TALLEY, a/k/a ADRAIN FOSTER, did unlawfully
obstruct, delay, and affect commerce, as that term is defined in Title 18, United States
Code, Section 1951(b), and the movement of articles and commodities in such
commerce, by robbery, as that term is defined in Title 18, United States Code, Section
1951(b), in that ADRAIN TALLEY, a/k/a ADRIAN TALLEY, a/k/a ADRAIN
FOSTER, did unlawfully take and obtain United States currency from and in the |
presence of an employee of the Dollar General Store, 415 West Trinity Lane, Nashville,
Tennessee, against the employee’s will, by means of actual and threatened force,
violence, and fear of injury, immediate and future, to the employee’s person and to the
property in the employee’s custody and possession.

In violation of Title 18, United States Code, Sections 1951 and 2.

Tw) (Ae
DAVID RIVERA
ACTING UNITED STATES ATTORNEY

baal:

ae
ASSISTANT UN SOKTATES ATTORNEY

 

Case 3:12-cr-00110 Document 52 Filed 07/11/13 Page 2 of 2 PagelD #: 76
